      Case 1:25-cv-00291-KMN      Document 32     Filed 03/31/25   Page 1 of 6




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



 PACIFIC EDGE DIAGNOSTICS USA,
 LTD.

 1214 Research Boulevard, Ste. 2000
                                                  No. 1:25-CV-00291
 Hummelstown, PA 17036,
                             Plaintiff,           Hon. Keli M. Neary
                                                  United States District Judge
 v.
 ROBERT F. KENNEDY, in his official
 capacity as Secretary of Health and
 Human Services

 200 Independence Avenue, SW
 Washington, DC 20201,


 NOVITAS SOLUTIONS, INC.

 2020 Technology Parkway, Suite 100
 Mechanicsburg, PA 17050,
                          Defendants.


                  PLAINTIFF’S MOTION FOR LEAVE
           TO FILE A BRIEF IN EXCESS OF THE WORD LIMIT

      Plaintiff Pacific Edge Diagnostics USA, Ltd. files this Motion for Leave to

File a Brief in Excess of the Word Limit, pursuant to Local R. 7.8, in opposition to

Defendants’ Motion to Dismiss. Pacific Edge has filed a brief in support of the

Motion, consistent with Local R. 7.5. Pacific Edge respectfully requests that this



                                          1
      Case 1:25-cv-00291-KMN      Document 32     Filed 03/31/25   Page 2 of 6




Court grant the Motion and permit Pacific Edge to file a brief not to exceed 8,000

words in length, exclusive of tables and signature blocks.

Dated: March 31, 2025

                                       ARNALL GOLDEN GREGORY LLP


                                       /s/ Brian R. Stimson
                                       Brian R. Stimson, Bar No.: 1657563
                                       2100 Pennsylvania Avenue NW
                                       Washington, DC 20037
                                       Telephone: 202-677-4948
                                       brian.stimson@agg.com

                                       Pro Hac Vice

                                       McNEES WALLACE & NURICK LLC


                                       /s Sarah Hyser-Staub
                                       Sarah Hyser-Staub PA I.D. No. 315989
                                       James T. Clancy PA I.D. No. 54339
                                       100 Pine Street
                                       Harrisburg, PA 17101
                                       Telephone No. (717) 237-5473
                                       sstaub@mcneeslaw.com
                                       jclancy@mcneeslaw.com




                                         2
      Case 1:25-cv-00291-KMN       Document 32    Filed 03/31/25   Page 3 of 6




            CERTIFICATE OF WORD COUNT COMPLIANCE


      I hereby certify that the foregoing brief is 80 words according to the word

count feature of Microsoft Word.



                                      ARNALL GOLDEN GREGORY LLP

                                      /s Brian R. Stimson
                                      Brian R. Stimson, D.C. Bar No.: 1657563
                                      2100 Pennsylvania Avenue NW
                                      Washington, DC 20037
                                      Telephone: 202-677-4948
                                      brian.stimson@agg.com

                                      Pro Hac Vice


                                      McNEES WALLACE & NURICK LLC

                                      /s Sarah Hyser-Staub
                                      Sarah Hyser-Staub, PA I.D. No. 315989
                                      James T. Clancy, PA I.D. No. 54339
                                      100 Pine Street
                                      Harrisburg, PA 17101
                                      Telephone No. (717) 237-5473
                                      sstaub@mcneeslaw.com
                                      jclancy@mcneeslaw.com
Dated: March 31, 2025




                                         3
      Case 1:25-cv-00291-KMN     Document 32    Filed 03/31/25   Page 4 of 6




             CERTIFICATE OF CONCURRENCE PURSUANT
                         TO LOCAL R. 7.1

      The undersigned hereby certifies that counsel for Pacific Edge consulted

counsel for Defendants Robert F. Kennedy and Novitas Solutions, Inc. regarding the

request found herein. Opposing counsel confirmed Defendants concur with this

request.


                                     ARNALL GOLDEN GREGORY LLP

                                     /s Brian R. Stimson
                                     Brian R. Stimson, D.C. Bar No.: 1657563
                                     2100 Pennsylvania Avenue NW
                                     Washington, DC 20037
                                     Telephone: 202-677-4948
                                     brian.stimson@agg.com

                                     Pro Hac Vice


                                     McNEES WALLACE & NURICK LLC

                                     /s Sarah Hyser-Staub
                                     Sarah Hyser-Staub, PA I.D. No. 315989
                                     James T. Clancy, PA I.D. No. 54339
                                     100 Pine Street
                                     Harrisburg, PA 17101
                                     Telephone No. (717) 237-5473
                                     sstaub@mcneeslaw.com
                                     jclancy@mcneeslaw.com
Dated: March 31, 2025




                                        4
     Case 1:25-cv-00291-KMN     Document 32    Filed 03/31/25   Page 5 of 6




                       CERTIFICATE OF SERVICE

      I hereby certify that on this date the foregoing document was e-filed via

CM/ECF and served by hand delivery, as follows:

                               Robert F. Kennedy
                            in his official capacity as
                   Secretary of Health and Human Services
                   c/o United States Department of Justice
                        United States Attorney’s Office
                    for the Middle District of Pennsylvania
                  Sylvia H. Rambo United States Courthouse
                          1501 N. 6th Street, 2nd Floor
                              Harrisburg, PA 17102

                           Novitas Solutions, Inc.
                     2020 Technology Parkway, Suite 100
                          Mechanicsburg, PA 17050


                                    ARNALL GOLDEN GREGORY LLP

                                    /s Brian R. Stimson
                                    Brian R. Stimson, D.C. Bar No.: 1657563
                                    2100 Pennsylvania Avenue NW
                                    Washington, DC 20037
                                    Telephone: 202-677-4948
                                    brian.stimson@agg.com

                                    Pro Hac Vice


                                    McNEES WALLACE & NURICK LLC

                                    /s Sarah Hyser-Staub
                                    Sarah Hyser-Staub, PA I.D. No. 315989
                                    James T. Clancy, PA I.D. No. 54339

                                      5
     Case 1:25-cv-00291-KMN   Document 32   Filed 03/31/25   Page 6 of 6




                                 100 Pine Street
                                 Harrisburg, PA 17101
                                 Telephone No. (717) 237-5473
                                 sstaub@mcneeslaw.com
                                 jclancy@mcneeslaw.com
Dated: March 31, 2025




                                    6
